‘ Case 2:10-md-02179-CJB-DPC Document 4223-1 Filed 10/03/11 Page1of1

IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig “Deepwater * MDL No. 2179
Horizon” *
: *
THIS DOCUMENT RELATES TO: *
*
BRAD ALFONSO * Case No. 2:2010-cv-08888
*
*
Claimant * Individual Case Document No. 77089
PROPOSED ORDER

Considering the foregoing Ex Parte Motion to Withdraw as Counsel of Record filed in
the above-captioned action [Ind. Case Doc. No. 77089], it is hereby ORDERED that the motion
is GRANTED, and that Mover, Brandy Gonzales Scurria of the firm Brandy Gonzales Legal
Services, LLC, be and is hereby withdrawn from this proceeding as counsel for Claimant, Brad
Alfonso. |

New Orleans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER

